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                    THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


                                              )
                                              )
 In re:                                       )           Chapter 11
                                              )
 GALLERIA 2425 OWNER, LLC,                    )           Case No. 23-34815
                                              )
                                Debtor.       )
                                              )
                 ________________________________________________

                                PROPOSED ORDER
                 _________________________________________________


          Before the Court is the Emergency Motion for Jetall Companies, Inc. for Stay

Pending Appeal of Order Granting NBK’s Motion to Enforce Sale Order Requiring Jetall

Companies, Inc. to Vacate Property.


          The Court orders that this motion be GRANTED. The Court’s Order Granting

NBK’s Motion to Enforce Sale Order Requiring Jetall Companies, Inc. to Vacate

Property (Dkt. No. 871) is hereby stayed until all appeals of that order are completed and

final.


It is so ORDERED on this _____ day of November, 2024.


                                          __________________________________

                                             United States Bankruptcy Court
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                                2
